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 1                                         THE HONORABLE RICARDO S. MARTINEZ
 2
 3
 4
 5
                              UNITED STATES DISTRICT COURT
 6
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8
     UNITED STATES OF AMERICA,                 )   No. CR19-200-RSM
 9                                             )
                     Plaintiff,                )
10                                             )   ORDER GRANTING EMERGENCY
                v.                             )   MOTION FOR TEMPORARY
11                                             )   RELEASE FROM CUSTODY
     THOMAS DAY,                               )
12                                             )
                     Defendant.                )
13                                             )
14          THE COURT has considered the Defendant’s motion for temporary release from

15   custody to attend funeral services.

16          THE COURT GRANTS the motion pursuant to 18 U.S.C. § 3145(b) and (c) or

17   18 U.S.C. 3142(i), and 28 C.F.R. 570.33(b) and 18 U.S.C. § 3622 and sets the

18   following conditions of release:

19
        1. The defendant shall be released from the Federal Detention Center-SeaTac no
20         later than 6:00 a.m. on Saturday,January 30, 2021;
21
        2. Release on third-party custody to: Ted Donato
22
        3. The defendant shall be tested for COVID-19 prior to release from custody.
23         Should he test positive for COVID-19, the following provision for location
24         monitoring shall not apply.

25      4. If the defendant tests negative for COVID-19, the defendant shall comply with
           Stand Alone Monitoring component of Location Monitoring Program. The
26
           defendant shall be monitored by Active Global Positioning Satellite technology

                                                             FEDERAL PUBLIC DEFENDER
       ORDER FOR TEMPORARY                                      1601 Fifth Avenue, Suite 700
       RELEASE FROM CUSTODY                                       Seattle, Washington 98101
       (USA v. Day / CR19-200RSM) - 1                                        (206) 553-1100
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            which shall be utilized for purposes of verifying compliance with any court-
 1
            imposed condition of supervision. The defendant shall abide by all program
 2          requirements, and must contribute towards the costs of the services, to the extent
            financially able, as determined by the location monitoring specialist.
 3
 4      5. During his temporary release, the defendant shall be allowed to attend his
           grandmother’s funeral at Kern Funeral Home, Cedar Hat Pavilion, and
 5         Swinomish Indian Cemetery. He shall either be in transit to or from the funeral
           services, and at all times be in the company of Ted Donato.
 6
 7      6. The defendant shall self-surrender himself to the Federal Detention Center-
           SeaTac no later than 5:00 p.m. on Saturday, January 30, 2021.
 8
        7. The defendant shall be subject to the Federal Detention Center’s policies
 9         regarding a return from this temporary release.
10
11          DONE this 29th day of January, 2021.
12
13
14                                             A
                                               RICARDO S. MARTINEZ
15                                             CHIEF UNITED STATES DISTRICT
16                                             JUDGE

17
18   Presented by:
19
     s/ Gregory Geist
20   Assistant Federal Public Defender
     Attorney for Thomas Day
21
22
23
24
25
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                                                                FEDERAL PUBLIC DEFENDER
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